 Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 1 of 27 PageID: 1




                 IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

HEALTH OPTION ONE, LLC, a
Florida limited liability company,

              Plaintiff,
v.                                           Civil Action No.

FIRST ENROLL, LLC, a New
Jersey limited liability company,
INFINIX MEDIA, LLC, a Florida
limited liability company, KRATOS
INVESTMENTS, LLC, a Florida
limited liability company,
BEEMAN’S FUTURE, INC., a
Florida corporation, and RM7
SERVICES, LLC, a Florida limited
liability company,
                                             DEMAND FOR JURY TRIAL
              Defendants.

                                  COMPLAINT

      Plaintiff Health Option One, LLC (“HOO”), doing business as Insurance Care

Direct (“ICD”), through the claims alleged herein, sues defendants First Enroll, LLC

(“First Enroll”), Infinix Media, LLC, (“Infinix”), Kratos Investments, LLC

(“Kratos”), Beeman’s Future, Inc. (“Beeman’s Future”) and RM7 Services, LLC

(“RM7 Services”)(collectively, “Defendants”). In support of its claims, ICD states

as follows:




                                         1
    Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 2 of 27 PageID: 2




                            NATURE OF THE CASE

        1.    This case seeks to enjoin, and recover damages from, an elaborate

multi-state scheme perpetrated by the Defendants through which Defendants market

and/or sell, directly or indirectly, unauthorized and/or illegal “tribal” association-

based health plans to unwitting consumers in New Jersey and at least eleven (11)

other jurisdictions, all with the intent of circumventing the purview of state law and

regulation. The potentially impacted jurisdictions include New Jersey, New York,

Massachusetts, Rhode Island, Vermont, New Hampshire, Maine, Utah, Oregon,

Colorado, Alaska, as well as the District of Columbia. 1

        2.    The core tenet of Defendants’ scheme rests upon the multi-state

marketing and/or sale of health “insurance” products offered to all consumers

through “Sovereign Nations Insurance,” a tribally-chartered “entity” based in Utah

which, according to its own website (www.sniprotect.com), purports to engage “in

interstate and inter-Tribal commerce, both on and off Reservation, with members

of Tribal Health Communities (THC) established by sovereign Tribal law.”

(Emphasis added). Sovereign Nations Insurance claims to be “a limited liability

company established under the Shivwits Band of Paiutes Limited Liability Company

Act.” Again, according to its own website, “SNI provides health care and insurance


1
 Upon information and belief, Defendants are targeting these particular jurisdictions
as a result of applicable statutory and/or regulatory restrictions on the sale of
association-based health products.
                                          2
 Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 3 of 27 PageID: 3




benefit solutions throughout the United States to all members of Tribal Health

Communities, both Native American and non-Indians alike.” (Emphasis added).

      3.     Upon information and belief, Sovereign Nations Insurance is operating,

and Defendants are engaged in marketing, soliciting and/or selling Sovereign

Nations Insurance’s unregulated products, wholly outside of the jurisdiction of state

regulators in New Jersey and any other affected state jurisdiction, to the detriment

not only of lawful actors such as ICD and others, but even more importantly, to the

detriment of millions of potential consumers, all of whom rely upon the safeguards

achieved through state-based regulation of insurance and similar products. The

marketing and/or sale of unauthorized and/or illegal products offered through

Sovereign Nations Insurance also expressly contravenes the McCarran-Ferguson

Act (15 U.S.C. §§1011 et seq.), through which Congress expressly delegated the

regulation of insurance to the states.

      4.     Through this unauthorized and/or illegal scheme, upon information and

belief, Defendants are profiting to the tune of millions of dollars at the expense not

only of competitors such as ICD but, more importantly, the general public. The

scheme is nothing short of a bald-faced attempt to reap illegal profits by

circumventing the regulation of insurance by the states. It must be stopped.




                                          3
 Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 4 of 27 PageID: 4




                                  THE PARTIES

      5.     Plaintiff HOO is a Florida limited liability company with its principal

place of business in Deerfield Beach, Florida.

      6.     Defendant First Enroll is a New Jersey limited liability company that

does business in Tinton Falls and operates throughout the United States.

      7.     Defendant Infinix is a Florida limited liability company with its

principal place of business in Fort Lauderdale, Florida.

      8.     Defendant Kratos is a Florida limited liability company with its

principal place of business in Miami, Florida.

      9.     Defendant Beeman’s Future is a Florida corporation headquartered in

Fort Lauderdale, Florida. Beeman’s Future is owned and controlled by Adam

Beeman.

      10.    Defendant RM7 Services, LLC, is a Florida limited liability company

with its principal place of business in Fort Lauderdale, Florida.

                         JURISDICTION AND VENUE

      11.    This action arises under 15 U.S.C. § 1125(a) (the “Lanham Act”) and

New Jersey common law of unfair competition. This Court accordingly has subject

matter jurisdiction over this action pursuant to 28 U.S.C. §§1331 and 1367.

      12.    This Court has personal jurisdiction over the Defendants because each

defendant purposefully availed itself of conducting business in the state of New

                                          4
 Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 5 of 27 PageID: 5




Jersey and purposefully directed its commercial efforts towards New Jersey

consumers.

      13.    Venue is proper pursuant to 28 U.S.C. §1391(b) because a substantial

part of the events or omissions giving rise to the claims occurred in this District.

                           FACTUAL ALLEGATIONS
                                   ICD’S PLANS

      14.    ICD is a family-owned business established in 2001 which has grown

into one of the nation’s largest health and life insurance agencies.

      15.    Among other things, ICD offers benefit plans and tailored memberships

that include health benefits, products and services (“ICD Plans”) to individuals. The

ICD Plans include insurance underwritten by a diverse group of benefit companies

and insurance carriers.

      16.    Individuals become insureds under the ICD Plans by becoming

members of the association or other group to which a master group insurance policy

has been issued by the insurance carrier. Association membership provides access

to benefit services.

      17.    At all times, ICD markets and sells its ICD Plans to consumers in

accordance with applicable state and federal laws and regulations.




                                           5
    Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 6 of 27 PageID: 6




       DEFENDANTS’ UNAUTHORIZED AND/OR ILLEGAL SCHEME

        18.   Defendants’ scheme works like this: Defendant RM7 Services is a

“lead generation” company that seeks to identify prospective consumers of health

insurance plans and, possibly, other health plan products. For example, a consumer

in New Jersey may visit Google.com or similar search engine and type in the words

“Blue Cross Blue Shield.”




        19.   Upon typing “Blue Cross Blue Shield” into the search engine, a

consumer will be presented with a list available website “hits,” such as the

following:2




2
  This particular screenshot shows the website “hits” for a consumer in New Jersey
typing in the search words “Blue Cross Blue Shield” in May 2022 immediately
preceding the following of this Complaint.
                                        6
 Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 7 of 27 PageID: 7




     20.    Clicking on one of the first sites on the above screenshot, www.new-

jersey-healthplans.com/blue-cross/blue-shield, the consumer is directed to the

following webpage operated by defendant RM7 Services:




                                       7
 Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 8 of 27 PageID: 8




      21.     The consumer is then directed to another webpage operated by

defendant RM7 Services in which the consumer’s personal information is requested

and, if the consumer so chooses, input:




      22.     Upon obtaining the contact information for the prospective consumer,

RM7 Services sells or transfers the consumer’s information, known as a “lead” in

the industry, to defendant Infinix. Upon information and belief, the principal of

defendant RM7 Services is Joseph Leto. Upon information and belief, the principals

of defendant Infinix are Scott Offut and Corey Shader. Upon information and belief,

defendants RM7 Services and Infinix are both funded by Corey Shader, a Florida

resident, and his brother Andrew Shader, also a Florida resident (collectively, the

“Shaders”).




                                          8
    Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 9 of 27 PageID: 9




        23.   Upon information and belief, defendant Infinix next sells the consumer

“lead” to defendant Kratos, which is an insurance agency licensed in multiple states

whose principal (at least nominally) is an individual named Richard Rysick. Upon

information and belief, Richard Rysick, rather than being a professional actually

engaged in the business of insurance, is a fire sprinkler salesman. Upon information

and belief, defendant Kratos is also a Shader-funded enterprise. 3 Upon information

and belief, Kratos’s business is actually operated by Adam Beeman (“Beeman”), a

Florida resident and convicted felon. Upon information and belief, Beeman uses the

credit card of defendant Beeman’s Future to purchase the leads from defendant

Infinix and others.

        24.   Defendant Kratos next takes the contact information from the

prospective consumer “lead” and contacts the consumer by and through one of its

sub-agency call centers (located, upon information and belief, in New Jersey, New

York, Pennsylvania, California and Florida). Upon information and belief, among

other possible products offered to the prospective consumer, defendant Kratos

markets for sale in New Jersey and each of the other eleven (11) potentially affected


3
  Defendant Kratos, and the remaining defendants, compete with ICD in various
states for the sale of lawful insurance and other products (unlike the unlawful
products being marketed and sold that are the subject of this Complaint). The
millions of dollars in profits generated through the unlawful sales is allowing
Defendants to realize an unfair and unlawful competitive advantage in the states
where products are being sold lawfully.

                                          9
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 10 of 27 PageID: 10




jurisdictions a variety of unregulated tribal association-based health plans offered

through Sovereign Nations Insurance.

      25.    Upon information and belief, Kratos has access to sell the Sovereign

Nation Insurance plans through its contract with defendant First Enroll. Upon

information and belief, it is defendant First Enroll which administers access to (along

with handling billing collection, product distribution, and paying advanced

commissions for) the plans offered by Sovereign Nations Insurance.               Upon

information and belief, defendant First Enroll pays defendant Kratos and its

subagencies for the sale of each Sovereign Nations Insurance plan.               Upon

information and belief, defendant First Enroll also pays defendant Beeman’s Future

for override commissions related to the Sovereign Nations Insurance plans offered

for sale by Kratos and other agents through defendant First Enroll.

      26.   In the end, upon information and belief, a substantial number of

consumers in New Jersey and the other affected jurisdictions who initially took to

the internet in search of health plans or other insurance ended up ensnared in

Defendants’ unauthorized and/or illegal scheme and, beknown or unbeknownst to

the consumer, purchased an unauthorized and/or illegal tribal health association-

based product through Sovereign Nations Insurance. Again, based upon information

readily available on its website, Sovereign Nations Insurance’s products are

purportedly sold entirely outside of the regulatory scope of the New Jersey Division

                                          10
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 11 of 27 PageID: 11




of Insurance and all other state insurance regulators. Sovereign Nations Insurance,

and Defendants by actively marketing and selling its products, are operating outside

of the bounds of federal and state law.

                      THE MCCARRAN-FERGUSON ACT

      27.    The “McCarran-Ferguson Insurance Regulation Act,” commonly

known as the McCarran-Ferguson Act and codified at 15 U.S.C. §§1011-1015,

provides that “[t]he business of insurance, and every person engaged therein, shall

be subject to the laws of the several States which relate to the regulation or taxation

of such business.”     15 U.S.C. §1012(a). The McCarran-Ferguson Act further

provides that “[n]o Act of Congress shall be construed to invalidate, impair, or

supersede any law enacted by any State for the purpose of regulating the business of

insurance…” 15 U.S.C. §1012(b). While the McCarran-Ferguson Act does not

itself regulate the business insurance, it provides that no federal law shall impair any

state law regulating the business of insurance unless the federal law itself specifically

relates to the business of insurance. 15 U.S.C.A. §1014. It has accordingly been

settled law throughout the United States for nearly a century that the regulation of

the business of insurance is a function wholly reserved for the states, unless

specifically pre-empted by federal law. No such pre-emption exists in federal law,




                                           11
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 12 of 27 PageID: 12




or the laws of any state, that exempts Native American tribes (or any tribally-

chartered entity) from the scope of state insurance regulation. 4

                               NEW JERSEY LAW

      28.    In response to the enactment of the McCarran-Ferguson Act, New

Jersey enacted a series of statutes regulating the business of insurance within the

state. N.J.S.A. 17B:30-1 et seq. The New Jersey Division of Insurance is the entity

within the state charged with regulating, overseeing and licensing those engaged in

the business of insurance in New Jersey. In this regard, the New Jersey Division of

Insurance “issues licenses to insurance companies, producers and other risk-

assuming entities, reviews insurance products and rates for compliance with existing

regulations, and monitors the financial solvency of licensees to ensure product

availability in the marketplace.” (www.state.nj.us). The New Jersey Division of

Insurance is also charged with responding to consumer concerns. Id.

                SOVEREIGN NATIONS INSURANCE PLANS

      29.    By its own admission, Sovereign Nations Insurance is a tribally-charted

“entity” that claims to operate “both on and off Reservation” wholly-outside the

scope of any state-based insurance regulation, offering its products to “both Native


4
  Neither is it the law that Native American tribes, by virtue of their domestic
dependent sovereign status, are carte blanche exempt from state-based regulation.
See Nevada v. Hicks, 533 U.S. 353, 363 (2001)(“…the Indians' right to make their
own laws and be governed by them does not exclude all state regulatory authority
on the reservation.”).
                                          12
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 13 of 27 PageID: 13




American and non-Indians alike.” (Emphasis added). This wholly radical and

unlawful scheme violates the insurance laws of New Jersey and other affected

jurisdictions, as well as federal law.

      30.    Sovereign      Nations      Insurance   advertises   its   products   at

www.sniprotect.com.




      31.    On its website, Sovereign Nations Insurance provides answers to

“Frequently Asked Questions” which explain its misguided rationale for claiming to

be exempt from state-based regulation both “on and off reservation” for sales of its




                                           13
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 14 of 27 PageID: 14




products   to    “both    Native     American      and    non-Indians     alike.”

(www.sniprotect.com/faqs/).




     32.   In response to the Frequently Asked Question “What is Sovereign

Nations Health Consortium (SNHC)?”, www.sniprotect.com/faqs/ explains:

     SNHC is an inter-Tribal association made up of the following federally
     recognized Tribes: Shivwits Band of Paiutes, Kanosh Band of Paiutes,
     and the Confederated Tribes of the Goshute Reservation. The Tribes of
     SNHC are each federally recognized, sovereign Indian Tribes listed on
     the Bureau of Indian Affairs Indian Entities Recognized List.
                                      14
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 15 of 27 PageID: 15




      SNHC is a Tribal government instrumentality, exercising delegated
      authority from participating Tribes to regulate and administer Tribal
      health and insurance laws. SNHC regulates the health insurance
      services according to Tribal law for the Tribal Health Community
      established by the Tribal Health and Insurance Code.

      SNHC owns and operates a wholly owned sovereign domestic
      insurance company called Sovereign Nations Insurance (SNI).

      33.   In response to the Frequently Asked Question “What is Sovereign

Nations Insurance (SNI)?”, www.sniprotect.com/faqs/ explains:

      Indian Tribes. Federally recognized Tribes have inherent sovereignty,
      which is the right of Tribes to make their own laws and govern
      themselves. The Tribes participating in SNHC have exercised that
      sovereignty to create and operate SNI.

      SNI engages in interstate and inter-Tribal commerce, both on and
      off Reservation, with members of Tribal Health Communities (THC)
      established by sovereign Tribal Law. SNI is a limited liability company
      established under the Shivwits Band of Paiutes’ Limited Liability
      Company Act. SNI provides health care and insurance benefit
      solutions throughout the United States to all members of Tribal
      Health Communities, both Native American and non-Indians alike.
      (Emphasis added).

      34.   In response to the Frequently Asked Question “Can Non-Indians

purchase an SNI insurance policy?”, www.sniprotect.com/faqs/ explains:

      Yes. Through the established Tribal Health and Insurance Code,
      anyone in the continental U.S. that agrees to follow the Code and
      become a member of the Native American Restoration Association
      (NARA) is eligible to purchase an SNI insurance policy. Programs are
      available for primary policyholders that are between the ages of 18-64
      and their dependents.




                                        15
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 16 of 27 PageID: 16




      35.   In response to the Frequently Asked Question “What kinds of

policies does SNI offer?”, www.sniprotect.com/faqs/ explains:

      The types of private insurance policies SNI offers are: Medical,
      Dental, Vision and Specified Coverage plans for critical illness and
      accident.

      36.   In response to the Frequently Asked Question “Does an SNI

Policy satisfy the Federal Mandate under ACA?”, www.sniprotect.com/faqs/

explains:

      Tribal governments and Tribal organizations, like SNHC, qualify for
      exemptions under the Affordable Care Act (ACA). Because SNI is a
      100% Tribally owned Insurance company, administered by Tribal
      governments that regulate and grant membership in Tribal Health
      Communities and the Native American Restoration Association, a
      policyholder can qualify for exemption from the ACA individual
      mandate requirements, which are not presently being enforced at the
      federal level. Policyholders should check with their tax advisor or
      attorney if they have questions.

      37.   In response to the Frequently Asked Question “Is SNI subject to

Federal and State regulation?”, www.sniprotect.com/faqs/ explains:

      Federally recognized Tribes and economic arms of Tribes, like SNHC,
      are subject to federal law, but generally not state laws.

      Tribal governments have inherent and legally recognized sovereign
      authority, and as such, are not subject to general state regulations. Such
      standing does not suggest, however, that SNHC’s purpose is to avoid
      regulation. To the contrary, as a 100% Tribally owned entity, SNHC
      and SNI have established a transparent and effective regulatory
      framework for matters related to accessing health care and health
      insurance.



                                         16
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 17 of 27 PageID: 17




      The model Tribal Health and Insurance Code administered by SNHC
      contains processes and standards similar to some states but avoids the
      inconsistency of disparate state laws, and unpredictability of state
      regulatory enforcement.

      38.   In response to the Frequently Asked Question “How is this

legal?”, www.sniprotect.com/faqs/ explains:5

      As a duly constituted, inter-Tribal government instrumentality wholly
      owned by federally recognized Indian Tribes, SNHC exercises
      delegated authority from participating Tribes to perform essential
      government functions, including regulating and administering Tribal
      health and insurance laws. SNHC regulates health insurance services
      according to Tribal law for the Tribal Health Community established
      by the Tribal Health and Insurance Code. SNHC is in good standing
      with each participating Tribal government. SNHC has an EIN issued
      by the Internal Revenue Service, has given due notice as a Tribal entity
      engaged in commerce through the Department of Commerce and
      Corporations in Utah, and has been issued a State Entity Number. Tribal
      sovereignty and supremacy of federal law provide a firm legal
      foundation for SNHC, SNI, and NARA. Tribes have the right, through
      duly constituted Tribal organizations to provide access to health care
      and serve not just Tribal members but also non-Indians that are part of
      Tribal Health Community, leveraging exemptions in the ACA for
      Tribal governments and to provide services to eligible beneficiaries and
      non-beneficiaries recognized by the Indian Health Care Improvement
      Act and other federal laws.

      Federally recognized Tribes have inherent sovereignty, which means
      they have the right to make their own laws and govern themselves. The
      Federal government has enforceable legal obligations to encourage and
      facilitate Tribal self-sufficiency through economic development. The



5
  This is a very good question, because in fact it is not legal. The National
Association of Insurance Commissioners (NAIC) has established a standing
“Improper Marketing of Health Insurance Working Group,” in part, to address issues
raised by conduct such as that complained of in this lawsuit.
                                        17
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 18 of 27 PageID: 18




      Tribes participating in SNHC have exercised that sovereignty to create
      and operate SNHC, SNI and NARA.

      39.   Finally, in response to the Frequently Asked Question “What gives

SNI the ability to market both on and off Reservation, and in every state?”,

www.sniprotect.com/faqs/ explains:

      SNI has the ability to market both on and off reservation because of
      sovereignty and because of the United States Constitution, including
      the interstate commerce clause and inter-Tribal commerce clause.
      Tribes and Tribal businesses are not legally required to only do business
      on their respective Reservations. Legal precedence allows Tribes to do
      business off reservation as well and provide services and goods to non-
      Tribal members. They can legally do business under the U.S.
      Constitution which makes inter-state commerce and inter-Tribal
      commerce a matter for the exclusive regulation of the federal
      government, instead of States.

             DEFENDANT FIRST ENROLL’S MARKETING OF
             SOVEREIGN NATIONS INSURANCE PRODUCTS

      40.   Upon information and belief, and based upon the webpage access of a

First Enroll agent (see screenshot below), First Enroll is marketing and selling

products to consumers offered by Sovereign Nations Insurance, including in the

State of New Jersey.




                                         18
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 19 of 27 PageID: 19




      41.   Defendant First Enroll’s product offerings contain information

describing the Sovereign Nations Insurance Indemnity (and other) plans. By way of

example, below is a screenshot containing information regarding the Sovereign

Nations Insurance Indemnity Plan, as well as the states in which it is purportedly

being offered.




                                       19
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 20 of 27 PageID: 20




                                     20
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 21 of 27 PageID: 21




        42.   The following screenshot from the First Enroll agent access page

describes the pricing for consumers in New Jersey.




        43.   This screenshot provides information regarding the states, including

New Jersey, in which the Sovereign Nations Insurance products are available for

sale.




                                        21
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 22 of 27 PageID: 22




      44.   Finally, as further evidence that defendant First Enroll is actively

marketing and selling Sovereign Nations Insurance products, the below screenshot

is found on Sovereign Nations Insurance’s own website in its claims handling

brochure (https://sniclaims.com/documents/global/SNIclaims%20How%20To.pdf).




                                      22
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 23 of 27 PageID: 23




                                    COUNT 1
       (False Advertising Under the Lanham Act § 43(a), 15 U.S.C. §1125(a))

         45.    Plaintiff adopts and incorporates the previous allegations as if fully set

forth herein.

         46.    Defendants have, individually and in agreement with one another,

distributed in this District advertisements that contain false and/or misleading

statements of fact regarding products and/or services sold by or through Defendants.

These statements have the tendency to cause confusion, or to cause mistake and/or

to deceive a substantial segment of Defendants’ audience into believing the products

purchased through them are lawful and regulatory compliant when in fact they are

not.

         47.    Defendants have further misrepresented the nature, characteristic and

qualities of the products marketed and/or sold by them as lawful and regulatory

compliant when in fact they are not.

         48.    Through their unauthorized and/or illegal           conduct aimed at

circumventing the New Jersey Division of Insurance and other regulators,

Defendants have caused, and will continue to cause, immediate and irreparable

injury to ICD and other lawful actors in the form of Defendants’ gaining an unfair

competitive advantage, as well as causing harm to the general public, for which there

is no adequate remedy at law. As such, ICD is entitled to an injunction restraining

Defendants, their agents, employees, representatives, and all persons acting in
                                             23
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 24 of 27 PageID: 24




conspiracy with them, from engaging in further acts which constitute a violation of

the law and/or insurance regulation.

      49.       By reason of their violation of 15 U.S.C. §1125(a), ICD is entitled to

recover its damages, reasonable attorney fees and costs of this action.

                                       COUNT 2
                                  (Unfair Competition)

      50.       Plaintiff adopts and incorporates the previous allegations as if fully set

forth herein.

      51.       Defendants have, individually and in agreement with one another,

engaged in conduct that constitutes unfair competition and/or deceptive acts or

practices in the business of insurance within the State of New Jersey and other

jurisdictions.

      52.       As a result of Defendants actions, ICD has been harmed in the form of

Defendants’ gaining an unfair competitive advantage in the marketplace through

their unauthorized and/or unlawful conduct.

      53.       By reason of their violation of New Jersey common law with respect to

unfair competition, ICD is entitled to recover its damages, reasonable attorney fees

and costs of this action.




                                             24
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 25 of 27 PageID: 25




                                       Count 3
                                  (Civil Conspiracy)

      54.      Upon information and belief, defendants RM7 Services, Infinix and

Kratos, all Shader-funded enterprises, conspired with each other and with defendant

First Enroll to market and sell unlawful products through Sovereign Nations

Insurance to consumers in this and other jurisdictions.

      55.      As a result of this unlawful conduct, which constitutes a civil

conspiracy, ICD has suffered financial injury in the form of competitors having

access to millions of dollars in ill-gotten profits. Just as importantly, the general

public is harmed through the sale of unlawful products marketed and sold with the

exclusive aim of circumventing lawful state regulation.

      56.      As a result of Defendants’ civil conspiracy, ICD is entitled to recover

its damages, reasonable attorney fees and costs of this action.

                              DEMAND FOR RELIEF

WHEREFORE, Plaintiff demands judgment as follows:

      • Awarding Plaintiff general and/or compensatory damages in an amount to

            be determined at trial for all injuries suffered as a result of Defendants’

            wrongdoing;

      • Awarding Plaintiffs punitive damages, as applicable;




                                           25
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 26 of 27 PageID: 26




     • Enjoining Defendants from continuing any conduct which amounts to a

        violation of New Jersey and other applicable laws and/or regulations;

     • Awarding Plaintiff prejudgment and post judgment interest at the

        maximum rate allowable by law;

     • Awarding Plaintiff the cost of suit as incurred in this action and

        attorneys’ fees, and;

     • Awarding Plaintiff all other relief as may be appropriate, including any

        further and additional relief provided by 15 U.S.C. §1125, common law

        unfair competition and any other applicable law or regulation.

                        DEMAND FOR JURY TRIAL

     ICD demands a trial by jury on all issues so triable.

Dated: May 31, 2022                   Respectfully submitted,

                                      s/ Robert A. Magnanini
                                      Robert A. Magnanini, Esq.
                                      STONE & MAGNANINI LLP
                                      400 Connell Drive, Suite 6200
                                      Berkeley Heights, NJ 07922
                                      Tel: (973) 218-1111
                                      Fax: (973) 218-1106
                                      RMagnanini@stonemagnalaw.com

                                      Ryan Leonard,
                                      Heidi Long,
                                      Travis W. Brown,
                                      Jennifer A. Tupps
                                      (PRO HAC VICE MOTIONS TO BE FILED)
                                      Edinger, Leonard & Blakley, PLLC

                                        26
Case 3:22-cv-03292-GC-LHG Document 1 Filed 05/31/22 Page 27 of 27 PageID: 27




                                   6301 N. Western Avenue, Suite 250
                                   Oklahoma City, OK 73118
                                   Phone: (405) 702-9900
                                   Fax: (405) 605-8381
                                   Email: rleonard@elbattorneys.com
                                          hlong@elbattorneys.com
                                          tbrown@elbattorneys.com
                                          jtupps@elbattorneys.com

                                   ATTORNEYS FOR PLAINTIFF,
                                   HEALTH OPTION ONE, LLC




                                     27
